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      Meghan Markle Apologises For Misleading UK
      Court Over Letter To Father
       Duchess of Sussex Meghan Markle's apology came as part of a British newspaper group's appeal
       against a UK High Court ruling that it breached Markle's privacy, by publishing parts of a letter she
       wrote to her father.
      World Agence France-Presse Updated November 11. 2021 5 40 pm 1ST


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                   Patients                      Associated Newspapers said Meghan Markle wrote the letter. knowing it was likely to be
                                                 leaked. (File)



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                   Alia Bhatt's Stylish                        f                                  in                 Ill       0
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                   11 Slides                   London: Meghan Markle has apologised to a UK court after admitting being
                                                involved in a favourable biography of her short tenure as a frontline royal in
                                                Britain, despite having previously denied it.
                   111Entertainment
                   8 Indians Made It
                   To Miss Universe             The apology came as part of a British newspaper group's appeal against a High
                   Top 5                        Court ruling that it breached the Duchess of Sussex's privacy, by publishing parts
                   11 Slides
                                               of a letter she wrote to her father.


                   111Humor                     Associated Newspapers, which publishes the Mail on Sunday, Daily Mail and
                   10 Memes From                MailOnline, has submitted that she wrote the letter, knowing it was likely to be
                   Elon Musk
                   17 Slides                    leaked, despite claiming the opposite.


                                                It is relying on testimony from her former communications adviser, Jason Knauf,
                 1J SHOPPING                    to overturn the lower court's ruling that publication was "manifestly excessive
                                                and ... unlawful".


                                                As part of their case at the Court of Appeal in London, the publishers said Knauf
                                                provided information to the authors of a biography, "Finding Freedom".
          Angashion Women's Dresses
          Floral Adjustable Spaghetti ...
                                                Both Meghan and Harry, who quit royal life last year citing media intrusion and
          $36.90     amazon                     moved to the United States, have previously said they had no direct involvement
                                                in the book.

                                                But Knauf said in a witness statement that the best-selling book was "discussed
                                                on a routine basis' and 'directly with the duchess multiple times in person and
                                                over email".
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                                       She also gave him briefing points about her life to share with the authors, Omid       Be
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                                       Scobie and Carolyn Durand. Meghan's husband, Prince Harry, was also emailed.
                                                                                                                              fl
                                       Knauf told the court in his statement that Harry had told him there should be
                                       plausible deniability and Knauf should provide "the right context and background'.


      Samsung Tab A7 Lite 8.T          That would "help get some truths out there", he is said to have told the aide.
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                                       In a witness statement made public on Wednesday, Meghan apologised for
                                       misleading the court about whether she had provided details to Knauf to pass on
                                       to the authors.


                                       "I accept that Mr Knauf did provide some information to the authors for the book       Re
                                       and that he did so with my knowledge, for a meeting that he planned for with the       Prl

                                       authors in his capacity as communications secretary," she said.


                                       "The extent of the information he shared is unknown to me.


                                       "When I approved the passage ... I did not have the benefit of seeing these emails
                                       and I apologise to the court for the fact that I had not remembered these
                                       exchanges at the time.


                                       "I had absolutely no wish or intention to mislead the defendant or the court."         Ga

                                       A decision on the privacy ruling appeal is expected at a later date.


                                       British newspapers, many of whom have been criticised by Meghan and Harry for
                                       the accuracy of their reporting, gave prominence to the former television actress
                                       saying sorry.


                                       The Sun carried a front-page cartoon of Meghan's head superimposed on a Little
                                       Miss character, with the headline: "Little Miss Forgetful."                            Mc

                                       (Except for the headline, this story has not been edited by NDTV
                                                                                                                        1
                                       staff and is published from a syndicated feed.)                             Comments




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         REVEALED
       Lifestyle


       MIXED MESSAGES Meghan Markle's
       bombshell emails and texts reveal five
       alleged 'contradictions' in her claims to
       court
       Holly Christodoulou I Emma James
       9:03 ET, Nov 13 2021 I Updated: 10:14 ET, Nov 13 2021




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           BOMBSHELL messages sent by Meghan Markle have revealed five alleged
           contradictions in her court claims.

           The Duchess of Sussex's credibility has been threatened after the
           explosive evidence was submitted to the High Court.




            Meghan's credibility has been threatened credit: PA
Case 8:22-cv-00511-CEH-TGW Document 1-4 Filed 03/03/22 Page 6 of 30 PageID 46


                    HOME     NEWS    ENTERTAINMENT    LIFESTYLE   MONEY    HEALTH


       Text messages and emails between Meghan, 40, and her former
       communications secretary Jason Knauf were made public yesterday for
       the first time.

       They came at the end of a sensational three-day case brought by the Mail
       on Sunday to appeal against Meghan's privacy win.

       The newspaper published extracts of a five-page private letter she'd
       written to her dad begging him not to speak to the media about her.

       We review the five alleged contradictions that emerged from Meghan's
       messages.

       Meghan's 'memory lapse'
       Meghan previously claimed she did not know whether her
       communications team had given information to the Finding Freedom
       authors and insisted she had not been contacted by aides for "clarification
       of any matters relating to the book".

       But she apologised this week after it was revealed she had shared email
       exchanges with Mr Knauf over the biography.


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                            over by police after FBI seizes Rust star's
                            phone


                            'NOT DOING WELL' Big's wife 'very upset &
                            they may spend Christmas apart' after rape
                            claims


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            She told the court she "had not remembered" giving Mr Knauf
            authorisation to brief authors Omid Scobie and Carolyn Durand.

            Mr Justice Warby issued a summary judgment in February - meaning she
            won her privacy claim without a trial.

            •   Read our Meghan and Harry live blog for the latest updates

            It now appears the judge was not aware of all the facts with Meghan
            blaming a memory lapse for misleading the court.

            She said she had "absolutely no wish or intention to mislead the
            defendant or the court" but accepted Mr Knauf had offered information
            for the book "with my knowledge".

            If the case were to go to trial, Meghan will have to publicly testify and
            even come face-to-face with her father.

            Knauf 's 'two hour' Finding Freedom meeting
            The emails between her and Mr Knauf show the aide sat down for two
            hours with the Finding Freedom writers to discuss a string of "briefing
            points" Meghan wanted him to share.

            These included personal stories about Meghan's family - including how her
            half-sister Samantha "had lost custody of all three of her children from
            different fathers".

            He wrote to Meghan: "I took them through everything. They are going to
            time the book for the run-up to the baby being born and it is going to be
            very positive.

             "They are prioritising the US market and will position it as a celebration of
             you that corrects the record on a number of fronts.

             "I will stay in close contact with them."

             Mr Knauf also claimed in his witness statement he "authorised specific
             cooperation in writing in December 2018" to the book's authors.

             He said "the book was discussed directly with the Duchess multiple times
             in person and over email".

             But Mr Knauf said as far as he knows neither Harry or Meghan met directly
             with the authors during his time as press secretary.

             Dad's health 'concerns'
             In the "heartfelt" letter to Thomas Markle, Meghan made reference to his
             ill-health.
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          Dad's health 'concerns'
          In the "heartfelt" letter to Thomas Markle, Meghan made reference to his
          ill-health.

          Her pals said that following her wedding to Harry in 2018, the Duchess
          made a series of "worried" phone calls to her father over his health.

          And in the week before the nuptials Meghan released her first solo
          statement from the Palace, saying: "Sadly, my father will not be attending
          our wedding."

          The text messages show the reference to Mr Markle's health was actually
          suggested to Meghan by Jason Knauf.

          He tells the royal he thinks it is "essential" to address his "heart attack" as it
          is his "best opening for criticism and sympathy".

          Meghan replies saying it is a "very valid point" and says she will attempt to
          squeeze it into the five page, 1,250-word letter.

           She writes: "Will redraft one page and try to fit it in".

           Royal pressure
           During the High Court hearing in January, Meghan said she felt forced to
           write the letter to her dad after they reached "breaking point".

           Her barrister told the court: "It was written, in short, by daughter who felt
           she had reached a breaking point with her father."

           But the court heard allegations there was another motive behind the
           letter to Thomas Markle.

           She claimed that her "catalyst" for doing so was "seeing how much pain"
           the situation was causing Harry.

           Meghan added: "Even after a week with his dad and endlessly explaining
           the situation, his family seem to forget the context and revert to 'can't
           she just go and see him and make this stop?'

           "They fundamentally don't understand so at least by writing [Harry] will
           be able to say to his family, 'she wrote him a letter and he's still doing it'.

           "By taking this form of action I protect my husband from this constant
           berating and while unlikely, perhaps it will give my father a moment to
           pause."

           Leak fears
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            Leak fears
            Meghan deliberately called Mr Markle "daddy" in the handwritten letter as
            she believed it would "pull at the heartstrings" if the public saw it.

            Mr Knauf outlined how the Duchess said she had been "meticulous" in her
            wording in the private letter as she had "obviously" written it "with the
            understanding that it could be leaked".

            Meghan claims in her statement she did not think it was likely to reach the
            public but recognised it was a "possibility".

             Meghan later text Mr Knauf again, saying: "Honestly Jason, I feel fantastic.

             "Cathartic and real and honest and factual. And if he leaks it then that's on
             his conscience.

             "And at least the world will know the truth, words I could never voice."

             Lawyers for Associated Newspapers argue the fear of a leak undermines
             Meghan's expectation of privacy.

             They also believe it was in the public interest for the contents of the letter
             to be published.
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 "By taking this form of action I protect my husband from this constant berating and while unlikely perhaps it
 will give my father a moment to pause."

 She also suggests a handwritten letter "does not open the door for a conversation".

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  The text Meghan Markle sent to Jason Knauf while she was drafting her letter to her father Thomas M arkle
  Credit: Schillings/RPC


  The text message was released on Friday during a court appeal brought by Associated Newspapers Limited
  (ANL), the publisher of The Mail On Sunday and MailOnline, against a High Court judge's d ecision to
  grant Meghan summ a ry judgment in a privacy case - meaning she won her case without a trial.
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 The text message Meghan Markle sent to aide Jason
 Knauf on why she wrote letter to father

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 (9   Friday 12 November 2021, 6:52pm




 The Duchess of Sussex Meghan Markle
 Credit:PA


  A text message Meghan Markle sent to a former aide explaining why she sent a letter to her dad has been
  released.

  In the message to her former communications secretary, Jason Knauf, the Duchess of Sussex says the letter
  she had drafted to her father Thomas Markle, 77, had been written "with the understanding that it could be
  leaked".

  And she asks for advice for anything that stands out "as a liability".

  The message also goes into detail about how Meghan intends to send her letter and her motivation for doing
  so.

  She tells Mr Knauf she wants to protect Prince Harry from "constant berating" from the royal family by
  showing them she has at least written to her father to try to stop him talking to the press.
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 She wrote: "Even after a week with his dad and endlessly explaining the situation, his family seem to forget
 the context - and revert to 'can't she just go and see him and make this stop?'

 "They fundamentally don't understand so at least by writing H will be able to say to his family 'she wrote him
 a letter and he's still doing it'.

 "By taking this form of action I protect my husband from this constant berating and while unlikely perhaps it
 will give my father a moment to pause."

 She also suggests a handwritten letter "does not open the door for a conversation".

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  The text Meghan Markle sent to Jason Knauf while she was drafting her letter to her father Thomas Markle
  Credit: Schillings/RPC
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 The text message was released on Friday during a court appeal brought by Associated Newspapers Limited
 (ANL), the publisher of The Mail On Sunday and MailOnline, against a High Court judge's decision to
 grant Meghan summary judgment in a privacy case - meaning she won her case without a trial.

 In the earlier privacy case, the Duchess of Sussex, 40, had sued the newspaper company over five articles that
 reproduced parts of a "personal and private" letter to her father.

 Meghan's text to Mr Knauf and more messages were made public on Friday following an application by PA
 news agency and The Times.

 In the appeal hearing this week, the newspaper publisher's lawyers said they want to rely on new evidence
 from Mr Knauf, who claimed Meghan wrote the letter to her father with the understanding that
 it could be leaked.




  Credit: PA images


  Meghan previously told the Court of Appeal the main purpose of her letter "was to encourage my father to
  stop talking to the press" after public criticism and a "media onslaught" surrounding Mr Markle.

  She wrote in her evidence: "It was only when my father began criticizng the royal family...that senior members
  of the family and their advisers expressed their concern over the public attacks, and expressed their desire to
  have them stopped."

  During the Court of Appeal hearing, the Daily Mail publisher's lawyers argued an article published by the US'
  People magazine that featured an interview with five of Meghan's friends misrepresented the letter and
  made "nasty" allegations about Mr Markle.

  Andrew Caldecott QC said the article falsely presented Mr Markle as giving "a cynical and self-interested
  response ignoring her pleas for reconciliation in a loving letter".
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Jason Knauf, former communications secretary to the Duke and Duchess of Sussex, gave evidence in a witness
statement
Credit:PA


) Meghan's letter to father 'written with public consumption in mind'


) Meghan's ex-aide claims she realised father might leak letter, court told




The court also heard Mr Knauf provided information to authors of Harry and Meghan's biography Finding
Freedom - leading to Meghan apologising for misleading the court about whether he had given information.

In his witness statement, Mr Knauf said the book was "discussed on a routine basis", which was "discussed
directly with the duchess multiple times in person and over email".

New texts and emails show that in an email to Meghan in December 2018, Mr Knauf said he had spent "close
to two hours" with the authors of the biography.



    I also had close to two hours with Omld and Carolyn yesterday. I took them through everything. They are going to
    time the book for run-up to the baby being born and it is going to be very positive. They are prioritising the US
    market and will position it as a celebration of you that corrects the record on a number of fronts. I wlll stay in close
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    Let me know if helpful to speak.

    Jason
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      . . , . Jason Knaur
              Communications Secretary to The Duke nnd Duchess of Cambridge and The Duke ond Duchess or Susstx
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              Kensington ralncc, London, WS 4PU

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 An email bV Jason Knauf to Meghan in December 2018 said he had spent "close to two hours" with the authors of the
 biography.
 Credit: Schillings/RPC


 "I took them through everything," he wrote.

 "They are going to time the book for run-up to the baby being born and it is going to be very positive."

 Mr Knauf also told the duchess the book would be a "celebration of you that corrects the record on a number
 of fronts".

 At the end of the hearing on Thursday, the three judges said they will consider the evidence and give their
 ruling at a later date.




 ) Meghan aide 'regretted' not giving evidence in High Court privacy battle


 ) Meghan Markle's half brother criticises duchess as he enters Big Brother house



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 Meghan, the Duchess of Sussex

o This article is more than 1 month old

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 Duchess of Sussex apologises for misleading court, stating she
 forgot she had authorised PR chief to brief Finding Freedom
 authors




 0 The Duchess of Sussex with Prince Harry in New York, September 2021. Photograph: Rex/Shutterstock


 TomAmbrose
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 TomAmbrose
 Wed 10 Nov 202115.27 EST




 The Duchess of Sussex has apologised in court for failing to remember
 authorising a senior aide to brief the authors of her and Harry's unofficial
 biography.

 Meghan submitted a statement to the court in which she said she could
 not remember emails between her and her then press secretary, Jason
 Knauf, about the unauthorised book.

 It came as the court of appeal heard that the royal couple's former
 communications secretary provided information to the Finding Freedom
 authors, Omid Scobie and Carolyn Durand. Knauf said in a witness
 statement that the book was "discussed on a routine basis", which was
 "discussed directly with the duchess multiple times in person and over
 email".

 He also                Advertisement

 discussed AD
 meeting the
 authors to
 provide
 background
 information
 for the book
 and claimed
 Meghan
 provided
 him with
 several
 briefing
 points to
 share with
 them.

  Knauf
  claims to
  have emailed Meghan's husband, Prince Harry, about the meeting, to
  which the duke replied: "I totally agree that we have to be able to say we
  didn't have anything to do with it. Equally, you giving the right context
  and background to them would help get some truths out there!'

  Meghan apologised for misleading the court over whether Knauf provided
  information to the book's authors in a witness statement released on
  Wednesdav.
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  She said: "I accept that Mr Knauf did provide some information to the
  authors for the book and that he did so with my knowledge, for a meeting
  that he planned for with the authors in his capacity as communications
  secretary. The extent of the information he shared is unknown to me.

  "When I approved the passage ... I did not have the benefit of seeing these
  emails and I apologise to the court for the fact that I had not remembered
  these exchanges at the time. I had absolutely no wish or intention to
  mislead the defendant or the court!'

  She added that she would have been "more than happy" to refer to the
  exchanges with Knauf if she had been aware of them at the time, adding
  they were "a far cry from the very detailed personal information that the
  defendant alleges that I wanted or permitted to put into the public
  domain".

  The Duchess successfully sued the publisher of the Mail on Sunday,
  Associated Newspapers Limited (ANL), over five articles that published
  parts of a "personal and private" letter sent to her father, Thomas Markle,
  in August 2018.

  The high court ruled that the letter was unlawful and therefore avoided
  the need for a trial but ANL is challenging that ruling, arguing the case
  should go to a trial on Meghan's claims including breach of privacy and
  copyright.

  ANL's lawyer, Andrew Caldecott, told judges that correspondence
  between Meghan and Knauf shows the duchess suspected her father
  might leak the letter to journalists, the Associated Press reported.
  Caldecott said the letter was "crafted with readership by the public in
  mind" and Meghan "was happy for the public to read it if Mr Markle were
  to leak it".

  He quoted from a witness statement in which Knauf said the duchess
  "asked me to review the text of the letter, saying, 'Obviously, everything I
  have drafted is with the understanding that it could be leaked."'

  Knauf said Meghan asked whether she should address her father in the
  letter as "daddy", adding that "in the unfortunate event that it leaked, it
  would pull at the heartstrings".

  In her own written evi~ence, the duchess said she had not believed that
  her father "would sell or leak the letter, primarily because it would not put
  him in a good light".

  "To be clear, I did not want any ofit to be published, and wanted to ensure
  that the risk of it being manipulated or misleadingly edited was
  minimised, were it to be exploited:' she said.
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  The appeal hearing is scheduled to last until Thursday, with a ruling due at
  a later date.


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           LITTLE MISS 'FORGETFUL' Meghan Markle
           issues apology for 'forgetting' to tell court
           she tried to influence royal biography
           Matt Wilkinson I Tom Wells
           22:00, 10 Nov 2021 I Updated: 10:03, 11 Nov 2021




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            MEGHAN Markle yesterday apologised to a court for not telling a judge
            about emails showing her attempts to influence a biography about her
            and Prince Harry, saying: "I forgot."

            Emails were released by the Court of ApQeal showing how she and Harry
            had heavily briefed their press spokesman Jason Knauf before he met
            writers Omid Scobie and Carolyn Durand two years ago.




             Inspired by the
             Mr Men books by _ _                                      -
             Roger Hargreaves                                                       (oJj
            Meghan Markle as 'Little Miss Forgetful', Inspired by the Mr Men books by Roger
            Hargreaves
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       Meghan Markle as 'Little Miss Forgetful', Inspired by the Mr Men books by Roger
       Hargreaves




       The Duchess of Sussex, 40, has always vehemently denied helping the authors of
       the controversial Finding Freedom biography

       Mr Knauf also revealed email exchanges over a letter Meghan wrote
       to estranged father Thomas, 77, after her wedding.

       He claimed Meghan said she would refer to him as "daddy_'.'._ because it
       would "pull at the heartstrings" if leaked.

       The Duchess of Sussex, 40, has always vehemently denied helping the
       authors of the controversial Finding Freedom biography

       Mr Knauf's 23-page statement to the court revealed the Sussexes had told
       him what to say to the authors.

       Harry, 37, also emailed him saying: "I totally agree that we have to be able
       to say we didn't have anything to do with it.

       "Equally, you giving the right context and background to them would help
       get some truths out there."


       MOST READ IN FABULOUS
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       Yesterday, Meghan apologised to judges for not mentioning the emails
       before in her long-running High Court privacy case against The Mail on
       Sunday for revealing the contents of the letter to her father.

       She had won her case but the newspaper is appealing.

          Read our Meghan and Harry live blog for the latest updates

       Meghan said: "I did not have the benefit of seeing these emails and I
       apologise to the Court for the fact I had not remembered these
       exchanges at the time.

       "I had absolutely no wish or intention to mislead the defendant or the
       Court."

       The extent of Meghan and Harry's secret co-operation with the authors
       of biography Finding Freedom was laid bare.

       Emails released yesterday revealed an account of Meghan choosing her
       wedding tiara with the Queen were attributed to a "palace aide" in Finding
       Freedom when it was released last summer.

       In another exchange Harry told Mr Knauf: "I totally agree that we have to
       be able to say we didn't have anything to do with it. Equally, you giving
       the right context and background to them would help get some truths
       out there. The truth is v much needed and would be appreciated,
       especially around the Markle/wedding stuff but at the same time we can't
       put them directly in touch with her friends."

       Harry also emailed Mr Knauf to wish him "good luck" before his
       briefing with the authors 0mid Scobie and Carolyn Durand in December
       2018.
       Meghan, 40, even wrote five bullet points and 31 "reminders" she says
       "may be helpful to have".




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                            pandemic 'could very well be' still ahead of us



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                            jackpot but Ireland has new millionaire
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            In her statement to court, Meghan admitted Mr Knauf "did provide some
            information to the authors for the book" and "did so with my knowledge".

            Her new recollections appeared in a 23-page statement after Mr Knauf
            released the emails to lawyers appealing her High Court privacy case
            with estranged dad Thomas.

            It comes after a string of vocal denials of collaboration via her spokesmen
            and lawyers.

            Court documents submitted on Meghan's behalf signed by her lawyer
            Justin Rushbrook in her High Court privacy hearing in September 2020
            said: "The claimant and her husband did not collaborate with the authors
            of the book."
            When Finding Freedom was published, a spokesman for the couple told
            the Press: "The Duke and Duchess of Sussex were not interviewed and did
            not contribute."


                     I had absolutely no wish or intention to
                     mislead the defendant or the Court.
                     Meghan Markle



            And in his witness statement, co-author Scobie said: "Any suggestion that
            the Duke and Duchess collaborated on the book is false."

            Mr Knauf's statement reveals: "The book was discussed directly with the
            Duchess multiple times in person and over email."

            He says on November 12, 2018 that "the Duchess asked to discuss the book
            with me that afternoon".

            Mr Knauf added: "On December 10 2018 I emailed The Duke about the
            book and included a list of topics that the authors wanted to discuss. I
            asked him to decide whether or not these should be shared with the
            Duchess as she'd requested to not be told about media stories or
            questions that involved her family.

            "In relation to the authors' request to be put directly in touch with friends
            of The Duchess I advised that 'this was not a good idea' and that 'being
            able to say hand on heart that we did not facilitate access will be
            important'.

            "I also told him that I would meet the authors that week to help with
            'factual accuracy and context'." Later that day Mr Knauf says he emailed
            Meghan a list of potA~P111i1t111111ia..1.g...111iiAiii111St111iiA111i1Pii1iS...._ _ _ _ __
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            "I also told him that I would meet the authors that week to help with
            'factual accuracy and context'." Later that day Mr Knauf says he emailed
            Meghan a list of potential questions.

            "The Duchess replied that evening saying, 'Thank you very much for the
            info below - for when you sit down with them it may be helpful to have
            some background reminders so I've included them just in case. I know you
            are better versed at this than most but assisting where I can. I appreciate
            your support - please let me know if you need me to fill in any other
            blanks'."

            Mr Knauf wrote Meghan highlighted a number of points she wanted
            stressing in the book, including:

            • Information on how she had minimal contact with her half-siblings
              throughout her childhood;
            • That she had been "close for most of her life" with her father and she
              had supported him ".. .in spite of his reclusiveness." She added that
              "media pressure crumbled him and he began doing Press deals
              brokered by his daughter Samantha" and that "despite countless efforts
              to support him through the past two years, they now no longer have a
              relationship";
            • Her perspective on the thinking behind a statement in November 2016
              issued by me about the way she was being treated by the media;
            • Her happiness about moving to Windsor;
            • Detail on how the wedding tiara had been selected and that it had been
              misrepresented by media. Later that evening Harry got involved with
              his own ideas for Mr Knauf to discuss with the authors.

            Mr Knauf said: "The Duke wrote to me, 'Also, are u planning on giving
            them a rough idea of what she's been through over the last 2yrs? Media
            onslaught, cyber bullying on a different scale, puppeteering Thomas
            Markle etc etc etc. Even if they choose not to use it, they should hear what
            it was like from someone who was in the thick of it. So if you aren't
            planning on telling them, can I?!"

            "I replied saying, 'Of course - I've never stopped!"'

            Responding to Mr Knauf's statement, Meghan claims he raised the book in
            summer 2018 but that she declined to meet the authors and advised
            friends not to take part. She says she searched for the words "Finding
            Freedom" in her emails - after The Mail on Sunday lawyers accused her of
            collaborating with the authors - but found zero results.

            Her new statement says: "I now believe this was an oversight."

            She added: "I had forgotten about the email communications I had with
            Mr Knauf in November and DoioliMkior iilQ19, and akio: 1t his meeting with
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            She added: "I had forgotten about the email communications I had with
            Mr Knauf in November and December 2018, and about his meeting with
            the authors."

            The Duchess also now says she "responded with some background
            reminders".

            They included an account of the Queen being present when she tried on
            five wedding tiaras, which appeared in the book.

            And several disparaging stories about her estranged half-sister Samantha.
            Plus lots of "reminders" that painted a favourable picture referring to
            "philanthropic interests", her "charity work behind the scenes" and Harry's
            "humanitarian focuses".

            In her new court statement she added: "Until I saw these emails, I had not
            given any thought to Mr Knauf's meeting with this journalist, or any other
            - those meetings and calls comprised the entirety of Mr Knauf's job.

            "No particular meeting stood out in my mind, as there was a daily deluge
            of media inquiries which he was tasked with handling."

            Meghan and Harry have also denied ever meeting the authors in person
            and there is no evidence that they did so.


                    On 10 Dec2018,at 18:01, M ~ > > w r o t e :
                    Hi Jason
                    Thanks very much for the info below - for when you sit down with them it
                    may be helpful to have some background reminders so I've included
                    them below just in case. I know you are better versed at this than most
                    but assisting where I can. I appreciate your support - please let me know
                    if you need me to fill in any other blanks.
                    Thank you!

               - Family; relationship with family and father (past and present)
                                                                                           -
               - They were close most of her life
               - Meghan supported her father in spite of his reclusiveness (as
               evidence in the article she wrote about him for Father's day on
               her defunct website The Tig)
               - media pressure crumbled him and he began doing press deals
               brokered by his daughter Samantha
               - despite countless efforts to support him through the past two
               year, they now no longer have a relationship

                     - H's November statement
                                                                                           ----
                     Very turbulent time, exacerbated by media interest propelled by
                     Samantha Markle. Meghan was living alone in Toronto and
                     working and her house was swarmed by paparazzi ad journalists.
                     She was chased off the roads when driving, she received a father
                     threat; there was massive interest and with very little support.
                     Police were "9ll@d TAP}( lirnes· decision was rnade fo draw a line
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                   Thank you!

              - Family; relationship with family and father (past and present)
              - They were close most of her life
              - Meghan supported her father in spite of his reclusiveness (as
              evidence in the article she wrote about him for Father's day on
              her defunct website The Tig)
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              brokered by his daughter Samantha
              - despite countless efforts to support him through the past two
              year, they now no longer have a relationship

                    - H's November statement
                    Very turbulent time, exacerbated by media interest propelled by
                    Samantha Markle. Meghan was living alone in Toronto and
                    working and her house was swarmed by paparazzi ad journalists.
                    She was chased off the roads when driving, she received a father
                    threat; there was massive interest and with very little support.
                    Police were called many times; decision was made to draw a line
                    in the sand


           Meghan apologised to judges for not mentioning the emails before in her long-
           running High Court privacy case against The Mail on Sunday
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       The extent of Meghan and Harry's secret co-operation with the authors
       of biography Finding Freedom was laid bare


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       Emails released by the Appeal Court reveal how the Sussexes extensively briefed
       their press chief Jason Knauf before he met the authors




         Vary confused
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         Vary confused

         MEGHAN'S forgetfulness has              made by the Sussexes in the
         raised eyebrows in royal circles.       interview that contained
                                                 contradictions or errors of fact.
         In an interview with Oprah
         Winfrey in March, the Duchess           Responding to allegations of
         and Harry had claimed a senior          racism, the Queen pledged to
         member of the Royal Family had          take it "very seriously" and
         asked the couple how "dark"             famously added: "Recollections
         their son Archie would be.              may vary."
         Harry claimed it happened when          A royal source said: "The fact the
         the pair first met but Meghan           Duchess has admitted forgetting
         remembered it taking place              key emails and discussions of fact
         while she was pregnant.                 in a high-profile court case is
                                                 surprising to say the least." ■
         Reports pointed out 17 claims




       Topics   ~        Royal Family    The Sun Newspaper 11 Meghan Markle


         Prince Harry



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